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             IN ·THE CIRCUIT COURT OF ST. FRANCIS COUNTY, ARKANSAS

TREVOR CASEY                                                                 PLAINTIFF

vs.                                  No.:   62C.V-:J,1-J{u- ~
TRUCKS FOR YOU, INC. and
RIC.KIE EUGENE SIMMONS                                                   DEFENDANTS

                           PLAINTIFFS ORIGINAL COMPLAINT
         COMES NOW, Plaintiff' Trevor Casey (hereinafter "Casey" or "Plaintiff"), and

for this, his Original Complaint against Defendant, Trucks for You,             Inc.   and

Defendant, Rickie Eugene Simmons (hereinafter collectively referred to as

"Defendants'1 would show this Court as follows:

         1.      Plaintiff Trevor Casey is a citizen and resident of Gregg County, Texas.

         2.      Upon information and belief, Defendant Trucks for You, Inc. is a

Domestic For-Profit Business Corporation registered in Oklahoma.              Defendant

Trucks for You, Inc.'s registered agent is Jay Calavan and may be served with process

at 8808 N. 32nd Street, Muskogee, Oklahoma, 74401.

        3.       Defendant Rickie Eugene Simmons (hereinafter "Simmons"), on

information and belief, is a citizen and resident of Mobile County, Alabama. Upon

information and belief, Defe~dant may be served with process at 10651 Hill.crest

Drive East, Grand Bay, Alabama, 36541-5638.

                              VENUE AND JURISDICTION

        4.       Venue is proper in this Court pursuant to Ark. Code Ann. § 16-60-

lOl(a)(l) because St. Francis, County, Arkansas is "[t]he county in which a

substantial part of the event or omission giving rise to the cause of action occurred[.]"

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       5.       This Court may properly exercise personal jurisdiction over Defendants

 pursuant to Ark. Code Ann. § 16-4-101 because they maintain continuous and

systematic contacts with Arkansas and, as described below1 Defendants committed

tortious acts against Plaintiff in this State.

                                         FACTS

       6.       On or about September 19, 2018, at approximately 1:40 p.m., Plaintiff

was traveling Eastbound on Interstate 40 ("I-40") when he suffered bodily injuries

and property damage resulting from Defendants' negligence which caused a sudden

and violent collision of the parties' vehicles.

       7.      Defendant Simmons was driving a 2016 Freightliner owned by

Defendant Trucks for You, Inc. when Simmons negligently attempted to change

lanes, crossing the center line and colliding with Plaintiffs vehicle. Plaintiff's vehicle

was violently jolted off the interstate into the median forcing him to collide with the

cable barrier before his vehicle finally came to rest in the interstate.

      8.       Simmons proximately caused the injuries and damages described above

through negligent acts, including, but not limited to, the following:

               a.    Failure to maintain control of the vehicle;

               b.    Driving in a reckless manner;

               c.    Failing to keep a proper lookout;

               d.    Failing to yield the right of way;

               e.    Driving too fast for conditions;




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                f.    Failing to use ordinary care under the circumstances, all of which

                      are against the laws of the State of Arkansas.

                                         COUNT I.
                                       NEGLIGENCE

       9.       Paragraphs 1 through 8 are incorporated by reference as if hereby stated

word for word.

       10.     Simmons owed a duty of ordinary care to Plaintiff, Trevor Casey.

       11.     Simmons breached his duty of ordinary care when he negligently

collided with Casey's vehicle.

       12.     As a result of Simmons negligence, Plaintiff Casey suffered damages

and should be awarded a monetary judgment in an amount to be determined at trial.

                                        COUNT IL
                                 NEGLIGENT ENTRUSTMENT

      13.      Paragraphs 1 through 12 are incorporated by reference as if hereby

stated word for word.

      14.      The vehicle driven by Simmons was owned by Trucks for You, Inc.

      15.      Trucks for You, Inc. knew or had reason to know that Simmons was

incompetent, inexperienced, or reckless, and Trucks for You, Inc. knew or had reason

to know of Simmons's conditions and/or proclivities.

      16.      With this knowledge, Trucks for You, Inc. entrusted its vehicle to

Simmons. The entrustment of this vehicle, with knowledge of Simmons's conditions

and/or proclivity for incompetence, inexperience, and/or recklessness created an

appreciable risk of harm which could lead to injury of a fellow motorist. Trucks for

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 You, Inc. owed a duty of ordinary care, and in allowing Simmons to use its vehicle, it

 breached that duty.

        17.     AB a result of Trucks for You, Inc.'s negligent entrustment, Plaintiff

suffered damages and should be awarded a monetary judgment in           ~   amount to be

determined at trial.

                                     COUNT Ill.
                             RESPONDEAT SUPERIOR/AGENCY

        18.     Paragraphs 1 through 17 are incorporated by reference as if hereby

stated word for word.

       19.      Separate Defendant, Trucks for You, Inc., is liable for the tortious

actions of Separate Defendant, Rickie Eugene Simmons, as Simmons was an

employee and/or agent of Trucks for You, Inc.

       20.      At the time of the collision described above, Simmons was acting within

the scope .of his employment and/or agency with True.ks for You, Inc.

       21.      Because the commercial truck was entrusted to Simmons by Trucks for

You, Inc., and because Simmons was operating the truck in the course and scope of

his employment/agency with Trucks for You, Inc., Defendant Trucks for You, Inc. is

vicariously liable for all damages caused by Simmons as a result of Simmons's

collision.

                                      . CoUNTIV.
                       NEGLIGENCE AGAINST TRUCKS FOR You, INC.

       22.      Paragraphs 1 through 21 are incorporated by reference as if hereby

stated word for word.

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       23.   Defendant Trucks for You, Inc. had a non-delegable duty to ensure that

its drivers and_ vehicles were reasonably safe and complied with all laws and industry

standards concerning the safe operation of commercial motor vehicles.

      24.    Defendant Trucks for You, Inc. breached the above-mentioned duties

and was therefore negligent in one or more of, but not limited to, the following ways:

             a.     Failing to verify and ensure that Simmons operated the truck in

                  · a reasonably manner and abided by all laws goveming the safe

                   operation of commercial motor vehicles in violation of 49 C.F.R. §

                   392.1;

             b.    Failing to properly train and instruct Simmons on defensive

                   driving, safe driving, proper following distance, and proper look

                   out in violation of 49 C.F.R. § 383.111;

             c.    Failing to properly supervise Simmons and identify dangerous

                   and negligent driving behaviors that could have been corrected in

                   time to avoid this crash;

             d.    Knowingly failing to promote and enforce systems and procedures

                   to ensure compliance, safety, and accountability for the safe

                   operation of commercial motor vehicles and, thus, creating a zone

                   and culture of risk that constituted a dangerous mode of operation

                   reasonably anticipated to cause injury and/or death to the

                   traveling public, including Plaintiff Casey.




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       25.     Defendant Trucks for You, Inc.'s negligent conduct also violated laws

intended to protect and prevent crashes with road users like Plaintiff Casey.

       26.     Defendant Trucks for You, Inc.'s negligence directly and proximately

caused Plaintiff Casey's damages.

                                        CoUNTV.
            NEGLIGENT Hm.lNG AND RETENTION AGAINST TRUCKS FOR You, INC.

      27.      Paragraphs 1 through 26 are incorporated by reference as if hereby

stated word for word.

      28.      Defendanj; Trucks for You, Inc. had a non-delegable duty to only hire

and retain safe, qualified, and competent professional truck drivers to operate its

commercial motor vehicles.

      29.      Defendant Trucks for You, Inc. breached the above-mentioned duties

and was therefore negligent in one or more of: but not limited to, the following ways:

               a.    Failing to preform or improperly performing background, driving

                     record, physical fitness to drive and/or charter investigations that

                    would have revealed Simmons was unfit to operate a commercial

                    motor vehicle in violation of 49 C.F.R. § 391.21 and § 391.23;

               b.   Hiring and retaining Simmons despite his subpar safety and

                    driving record, which was or should have been known to

                    Defendant Trucks for You, Inc. in violation of 49 C.F.R. § 391.11

                    and § 391.13;




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               c.    Failing to perform or improperly performing the review, audit, or

                     corrective actions to verify Simmons's knowledge of and

                     compliance with the laws and industry standards concerning the

                     safe operation of commercial motor vehicles in violation of 49

                     C.F.R. § 392. l(a); and

               d.    Failing to perform or improperly performing the annual

                     performance reviews, and checking medical evaluations, driving

                     and personal records that would have revealed Simmons was

                     unqualified and unfit to operate a commercial motor vehicle in

                     violation of 49 C.F.R. § 391.25 and§ 391.27.

         30.   Defendant Trucks for You, Inc.'s negligent conduct also violated laws

intended to protect and prevent crashes with vulnerable road users like Plaintiff .

Casey.

         31.   Defendant Trucks for You, Inc.'s negligence directly and proximately

caused Plaintiff Casey's damages.

                                       COUNT VI.
DANGEROUS INSTRUMENTALITY LIABILITY AGAINST DEFENDANT TRUCKS FOR You, INC.

      32.      Paragraphs 1 through 31 are incorporated by reference as if hereby

stated word for word.

      33.      At the time of the collision, Defendant Simmons was operating the

truck, a dangerous instrumentality, with Defendant Trucks for You, Inc.'s

permission.


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       34.    Therefore, Defendant Trucks for You, Inc. is liable for Defendant

Simmons's negligence and the resulting damages.

                                     DAMAGES

       35.   Paragraphs 1 through 34 are incorporated by reference as if hereby

stated word for word.

       36.   As a direct and proximate result of Defendants' negligence, Plaintiff

Trevor Casey suffered painful injuries to his body and damages which include the

following:

             a.    Physical pain and mental anguish in the past and future;

             b.    Disfigurement in the past and future;

             c.    Physical impairment in the past and future;

             d.    Medical expenses in the past and future;

             e.    Loss of household services in the past and future;

             f.    Loss of income in the past and future;

             g.    Past and future out of pocket expenses; and

             h.    Property damage.

                           CONDITIONS PRECEDENT

      37.    Paragraphs 1 through 36 are incorporated by reference as if hereby

stated word for word.

      38.    All conditions precedent to suit have been performed or have occurred.




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                                          JURYDEMAND

               39.   Plaintiff, in accordance Ark. R. Civ. P. 38, hereby dei:n,ands a trial by

     jury as to all issues contained herein which are triable of right by a jury.

                                              PRAYER

               40.   Plaintiff seeks the above damages in an amount the jury determines to

     be fair and reasonable and demand damages in excess of the amount required for

     federal court jurisdiction in diversity of citizenship cases.

               41.   Plaintiff also seeks punitive damages in an amount the jury determines

     sufficient to pmrish Defendants and deter other from similar conduct in the future

           WHEREFORE, PREMISES CONSIDERED, Plaintiff Trevor Casey prays that

     Def~mdants be cited to appear herein and that after a trial Plaintiff be awarded all

     relief requested herein, prejudgment interest, post-judgment interests, costs and all

     other relief to which Plaintiff would show himself justly entitled, whether at equity

     or law.




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                                          Respectfully Submitted,


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                                          TREVOR CASEY




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